 

	
	
	
	
	OSCN Found Document:IN THE MATTER OF THE STRIKING OF MEMBERS OF THE OKLAHOMA BAR ASSOCIATION

	
	
	

	
	
	
	
	
	
	
	

	


					
	
        
            	
			
				


     
    OSCN navigation


    
        
        Home

        
        Courts

        
                
	    Court Dockets
			 

        
        Legal Research

        
        Calendar

        
        Help
    
    





				
					
						
						Previous Case

						
						Top Of Index

						
						This Point in Index

						
						Citationize

						
						Next Case

						
						Print Only
					
				
			
            
        

        
            
				
				IN THE MATTER OF THE STRIKING OF MEMBERS OF THE OKLAHOMA BAR ASSOCIATION2016 OK 76Case Number: SCBD-6272Decided: 06/27/2016THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2016 OK 76, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT RELEASED FOR PUBLICATION.

IN THE MATTER OF THE STRIKING OF NAMES OF MEMBERS OF THE OKLAHOMA BAR ASSOCIATION FOR NONPAYMENT OF 2015 DUES
ORDER STRIKING NAMES
The Board of Governors of the Oklahoma Bar Association filed an Application for Order Striking Names of attorneys from the Oklahoma Bar Association's membership rolls for failure to pay dues as members of the Oklahoma Bar Association for the year 2015.
Pursuant to the Rules Creating and Controlling the Oklahoma Bar Association (Rules), 5 O.S. 2011 ch. 1, app 1, art. VIII §2, the Oklahoma Bar Association's members named on Exhibit A, attached hereto, were suspended from membership in the Oklahoma Bar Association and prohibited from practicing law in the State of Oklahoma by this Court's Order of June 15, 2015, for failure to pay their 2015 dues in accordance with Article VIII, Section 2 of the Rules. Based upon the application, this Court finds that the Board of Governors determined at its May 20, 2016, meeting that none of the Oklahoma Bar Association members named on Exhibit A, attached hereto, have applied for reinstatement at the time of the filing of its application. The Board of Governors further declared that the members set out on Exhibit A, attached hereto, shall cease to be members of the Oklahoma Bar Association and that their names should therefore be stricken from its membership rolls and the Roll of Attorneys, pursuant to Article VIII, Section 5 of the Rules on June 15, 2016. This Court further finds that the actions of the Board of Governors of the Oklahoma Bar Association are in compliance with the Rules.
It is therefore ordered that the attorneys named on Exhibit A, attached hereto, are hereby stricken from the Roll of Attorneys for failure to pay their dues as members of the Association for the year 2015.
DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE THIS 27TH DAY OF JUNE, 2016. 
/S/VICE CHIEF JUSTICE
ALL JUSTICES CONCUR

EXHIBIT A
(Dues - Strike)
Will Douglas Bradley, OBA No. 12079
9028 Northwest 93rd Circle
Yukon, OK 73099
Peter John Brangaccio, OBA No. 1078
1144 S. Braden Ave.
Tulsa, OK 74112
Stephen Maxwell Burris, OBA No. 1355
10800 E. 51st
Tulsa, OK 74146
Nina Ann Cherian, OBA No. 19315
2811 Seven Shields Lane
Lewisville, TX 75056
Shannon Lee Denney, OBA No. 15945
310 E. Buffalo St., Suite 158
Milwaukee, WI 53222
Carylee Katharine Eisenberg, OBA No. 13031
P. O. Box 1156
Erick, OK 73645
Jared Ray Ellis, OBA No. 30070
P.O. Box 2152
Lawton, OK 73502-2152
Marco Dax Flores, OBA No. 31913
901 Main St., Suite 3500
Dallas, TX 75202
Lenora Michelle Gulley, OBA No. 30378
212 North Fourth Street
Muskogee, OK 74403
Robert Baker Highsaw Jr., OBA No. 4193
8201 S. Walker Ave.
Oklahoma City, OK 73139-9451
David William Knight, OBA No. 5085
4726 Jacksboro Hwy., Ste. G
Wichita Falls, TX 76302
Angela R. McAlister, OBA No. 21277
2721 Tottingham Rd.
Oklahoma City, OK 73120
Bodil Millwood Mills, OBA No. 20095
Bodil Mills LLC
626 W. 14th St.
Tulsa, OK 74127
David Blaine Weaver, OBA No. 9410
1901 E. Broadway, Apt #104
Enid, OK 73701




	Citationizer© Summary of Documents Citing This Document
	
	
		Cite
		Name
		Level
	
	
	None Found.
	
	
	Citationizer: Table of Authority
	
	
		Cite
		Name
		Level
	
	
	None Found.
	
	



				
					
					
				
             
         
        
            
            
        

		
        
        
        
		
		
		
		
		

    
